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         ORDERED in the Southern District of Florida on January 5, 2022.



                                                         Peter D. Russin, Judge
                                                         United States Bankruptcy Court
_____________________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

         In re:
                                                         Case No. 21-20206-PDR
         Annetta McCalla and Curtis McNeal,
                                                         Chapter 13
                  Debtors.
                                                  /

                        ORDER CONTINUING CONFIRMATION HEARING

                  This matter came before the Court on January 3, 2022, on consideration of the

         pro se Debtors’ Chapter 13 Plan and Creditor NationStar Mortgage LLC’s Objection

         to Confirmation. (Docs. 19 & 25). The pro se Debtors failed to attend the hearing.

         Following commentary from the Chapter 13 Trustee and the Creditor, the Court

         denied confirmation, and the Trustee entered a request for entry of dismissal. (Doc.

         28).

                  Immediately thereafter, the Court received a letter it construed as a Motion

         for Reconsideration by the pro se Debtors. (Doc. 29). In it, the Debtors claimed they




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attended the hearing, but were not acknowledged and were unable to speak up or be

seen at the hearing. The Court is unsure how this might be the case. However, based

on the Debtors’ statement, the Court ORDERS:

        1.      The Court’s Hearing on Confirmation of the Chapter 13 Plan (Doc. 19)

and Creditor NationStar’s Objection to Confirmation (Doc. 25) is CONTINUED to

February 7, 2022, at 9:00 a.m. by Zoom Video Conference.

        2.      Any interested party may attend the hearing by Zoom Video Conference,

which permits remote participation by video or telephone.            To participate through

Zoom, participants must register in advance no later than 3:00 p.m. one business day

before the hearing using the link below:

        https://www.zoomgov.com/meeting/register/vJItcOqurD4qHUbwAimENeAkZ7QUKGhcZ7k.

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Copies To:
All parties in interest.




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